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UNITED STATES BANKRUPTCY COURT

SOUTHERN DISTRICT OF FLORIDA Z q 5 / Y' 7
www. fisb.uscourts.qov

In re: CABI DOWNTOWN, LLC Case No. 09-27168

Chapter 11

Debtor /

Notice is given that:

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(x)

NOTICE OF DEPOSIT OF FUNDS WITH THE
U.S. BANKRUPTCY COURT CLERK

ee Pp Wd

The trustee has a balance of $ remaining in the trustee's account
which represents unpresented checks drawn and mailed to entities pursuant to
the final distribution under U.S.C. §§726, 1226 or 1326 in a case under chapter
7, 12 or 13. The trustee has made a good faith effort to verify the correct
mailing addresses for said entities and deliver the funds before presenting this

notice. More than sufficient time has passed for these checks to be presented
for payment; or

The trustee has a balance of $ remaining in the trustee’s account
which represents small dividends as defined by Bankruptcy Rule 3010; or

the disbursing agent in a chapter 11 liquidating plan has $489,450.00 in funds
unclaimed 120 calendar days after the final distribution under the plan. The

disbursing agent has made a good faith effort to verify the correct mailing
addresses for said entities and deliver the funds.

Attached and made a part of this notice is a list, pursuant to Bankruptcy Rule 3011, of the
names, claim numbers and addresses of the claimants and the amount to which each is entitled.

Notice is given that the above stated sum has been deposited with the Clerk of the

U.S. Bankruptcy Court, Southern District of Florida, to effect closing o

Dated: 05/15/12

Eric A. W. Danner, Plan Administrator

Print Name
Copies to:
Debtor (at last current address) CRG Partners Group, LLC
Attorney for Debtor 2 Atlantic Avenue, 4°" Floor
U.S. Trustee Boston, MA_02110

Phone: (617) 482-4242

LF-26 (rev. 12/01/09)
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Cabi Downtown, LLC

Souttiern District of Flori

Case No. 09-27168

fase 09-27168-LMI

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Building

Unit

Original Buyer

Address

Class 5b Option A
Settlement Amounts

626

Ronnie Mitchell

Address provided by Debtor:
17555 Atlantic Blvd Apt. 1108
Sunny Isles Beach, FL 33160

$21,825.00

3608

Charles Castel/ Orange Intertrade
Corp.

Address on POC:

Orange Intertrade Corp and Charles Castel
c/o Richard S. Unger, Esq. (subsequently,
Michael Seese)

Hinshaw & Culbertson

One East Broward Boulevard, Suite 1010
Ft. Lauderdale, FL 33301

$41,250.00

4604

Adela Marcote, Maria Alvarez,
Cynthia Strauss

Address provided by Debtor:
1736 SW 131 st Place Circle S
Miami, FL 33175

$56,625.00

415

Canaima of Miami Corporation

Address provided by Debtor:
6851 NW 113 Ct
Miami, FL 33178

$24,375.00

2408

Cesar Hernandez

Address provided by Debtor:
Insurgentes Sur 1188 PH Col. Del Valle Mexico,
03100 Mexico

$25,575.00

808

Christine Edwards & Hugo Angei

Address Provided by Debtor - (RETURNED
MAIL)

10413 SW 16th Street Miami, Florida 33165
United States

$28,350.00

1706

Everybody on it

Address provided by Debtor:
16381 SW 53 Terr Miami, Florida 33185 United
States

$18,675.00

2710

Glemaud-Garnier

Address provided by Debtor:
1493 Running Oak Lane
Royal Palm Beach, FL 33411

$41,250.00

2209

Hawit (Resale Buyer)

Address provided by Debtor:
Baprosa Km4 Carretera A Tela
El Progreso Yoro Honduras

$50,100.00

2501

Jose Sacal- Sacal & Corp.

Address provided by Debtor:
Insurgentes Sur 1188 PH Col. Del Valle Mexico,
03100 Mexico

$32,250.00

622

Kathy Miller

Address provided by Debtor:
4956 N. 33rd Court
Hollywood, FL 33021

$21,825.00

623

Michael Miller

Address provided by Debtor:
744 Rt 18
East Brunswick, NJ 08816

$21,825.00

214

Orfa Nelly Pasos/ Jocosa LLC

Address provided by Debtor:
Carrera 100 #23H63
Bogota Colombia

$13,275.00

232

Oscar Gonzalez

Address provided by Debtor:

Ave. El Limon con Calle Maturin Quinta Sanary
El Cafetal Municipio Baruta

Miranda 1061 Venezuela

Second Address:
11437 NW 62 Terrace #229
Miami, FL 33178

$24,750.00

2206

Pugh/Woodbridge (Resale Buyer.

Address provided by Debtor:
32, Springcrofs Bushey,
Waterford Hertford WD23 3AR

United Kingdom

$28,125.00

322

Valdor LLC

Address provided by Debtor:
Carrera 100 #23H63
Bogota Colombia

$15,525.00

3

621

Winmax Realty LLC

Address provided by Debtor:
207-29 Melissa Ct.
Bayside, NY 11360

$23,850.00

Totals

$489,450.00

5/15/2012

Cabi Disbursement Calculation - Class 5b Option A

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